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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE: Rosteaua Jetricee Martin,                      )        CASE NO. 17-68827-crm
                                                      )
                                                      )        CHAPTER 13
         Debtor                                       )
------------------------------------------------------)-------------------------------------------------------------
SBY 2014-1 Borrower, LLC                              )
Silver Bay Property Management, LLC                   )
                                                      )        CONTESTED MATTER
         Movant                                       )
v.                                                    )
                                                      )
Rosteaua Jetricee Martin,                             )
                                                      )
         Debtor                                       )
                                                      )
Nancy J. Whaley, Trustee                              )
                                                      )
         Respondents                                  )

                       MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW, SBY 2014-1 Borrower, LLC Silver Bay Property Management, LLC (the

“Movant”), and moves this Court for relief from the automatic stay pursuant to 11 U.S.C. §362.

In support thereof, Movant shows the Court as follows:

                                                         1.

         Movant is the owner of certain real property located at 5910 Highview Drive SE,

Mableton, Georgia 30126 (the “Premises”), which was leased to the Debtor on March 10, 2017,

by Movant. A copy of the lease is attached hereto as Exhibit “A” and made a part hereof.

                                                         2.

         The Debtor filed this Chapter 13 case on or about October 30, 2017. Debtor has defaulted

on rental payments which have come due since the bankruptcy filing. Debtor’s pre-petition
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arrearage is $4,632.00. Debtor’s post-petition arrearage is $2,968.00. A copy of the ledger is

attached hereto as Exhibit “B” and made a part hereof.

                                                  4.

         The Debtor has not filed a Statement of Intent or informed Movant of any indication that

the Debtor intends to surrender the Premises to Movant. Debtor has not provided any adequate

assurance that she will vacate, or that she will compensate Movant for any financial loss

resulting from Debtor’s continued presence in the Premises. Moreover, there has not been any

adequate assurance or notice (formal or informal) that Debtor will vacate at any point in time in

the future.

                                                  5.

         Debtor has caused Movant undue hardship by failing to surrender the Premises to

Movant. Movant is unable to pursue dispossessory proceedings in Cobb County and has and will

continue to incur costly attorney fees for litigation in that court and the current matter in this

Court.

                                                  6.

         Because Debtor has not demonstrated or made known any intentions to vacate the

Premises, nor has Debtor submitted any documentation to the contrary under the provisions of

the bankruptcy code, Movant is not adequately protected. For the above and foregoing reasons,

Movant asserts cause exists sufficient to waive the requirements of Bankruptcy Rule 4001(a)(3),

therefore allowing an Order to be effective upon this Honorable Court’s signature.
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                                                7.

       Movant respectfully requests that this Court provide an Order stating that the automatic

stay is no longer in effect so that Movant can submit such order to the presiding Cobb County

Magistrate Judge to ensure that the dispossessory proceedings may be pursued in that county,

pursuant to state law.

       WHEREFORE, the Movant prays for an Order relieving it from the provisions of the

bankruptcy stay and authorizing it (the Movant) to proceed with dispossessory proceedings in

Cobb County, all in accordance with and pursuant to appropriate state statutes, for reasonable

attorney’s fees and further waive the requirements of Bankruptcy Rule 4001(a)(3), allowing an

Order to be effective upon this Honorable Court’s signature.

       Respectfully submitted, this 28th day of December, 2017.


                                             /s/ Russell I. Phillips
                                             Russell I. Phillips
                                             Attorney for Movant
                                             Self & Associates, LLC
                                             Ga. Bar No. 946738
P.O. Box 7990
Atlanta, GA 30357
404-259-5648
Russell.Phillips@selfassociatesllc.com
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         Debtor                                       )
                                                      )
Nancy J. Whaley, Trustee                              )
                                                      )
         Respondents                                  )

                                          NOTICE OF HEARING

         PLEASE TAKE NOTICE that SBY 2014-1 Borrower, LLC Silver Bay Property

Management, LLC has filed a Motion for Relief from Automatic Stay and related papers with the

Court seeking an order modifying the automatic stay.

         PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion

for Relief from Automatic Stay in Courtroom 1203, Federal Building, 75 Ted Turner Drive

SW, Atlanta, Georgia 30303 at 9:30 a.m. on January 9, 2018.

         Your rights may be affected by the Court’s ruling on these pleadings. You should read

these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy

case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court

to grant the relief sought in these pleadings or if you want the court to consider your views, then

you and/or your attorney must attend the hearing. You may also file a written response to the
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pleading with the Clerk at the address stated below, but you are not required to do so. If you file

a written response, you must attach a certificate stating when, how, and on whom (including

addresses) you served the response. Mail or deliver your response so that the Clerk receives it at

least two business days before the hearing. The address of the Clerk’s Office is: Clerk, United

States Bankruptcy Court for the Northern District of Georgia, Atlanta Division, Room

1304, 75 Ted Turner Drive SW, Atlanta, Georgia, 30303. You must also mail a copy of your

response to the undersigned at the address stated below.

       If a hearing on the motion for relief from the automatic stay cannot be held within thirty

(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of

filing the motion and agrees to a hearing on the earliest possible date. If a final decision cannot

be rendered by the Court within sixty (60) days of the date of the request, Movant waives the

requirement that a final decision be issued within that period. Movant consents to the automatic

stay remaining in effect until the Court orders otherwise.

                       Respectfully submitted, this 28th day of December, 2017.

                                               /s/ Russell I. Phillips
                                               Russell I. Phillips
                                               Attorney for Movant
                                               Self & Associates, LLC
                                               Ga. Bar No. 946738
Self & Associates, LLC
P.O. Box 7990
Atlanta, GA 30357
404-401-5648
Russell.Phillips@selfassociatesllc.com
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Rosteaua Jetricee Martin,                             )
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         Debtor                                       )
                                                      )
Nancy J. Whaley, Trustee                              )
                                                      )
         Respondents                                  )

                                      CERTIFICATE OF SERVICE

I, Russell I. Phillips, hereby certify that I am over the age of 18 and that on December 28, 2017, I
served a copy of the foregoing Motion for Relief from Automatic Stay and Notice of Hearing by
first class U.S. Mail or using CM/ECF System, to the following persons or entities at the
addresses stated:

Trustee:
Nancy J. Whaley
Nancy J. Whaley, Standing Ch. 13 Trustee
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303

Attorney for Debtor:
Howard P. Slomka
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339
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Debtor:
Rosteaua Jetricee Martin
5910 Highview Drive
Mableton, GA 30126

       On this 28th day of December, 2017.

                                             /s/ Russell I. Phillips
                                             Russell I. Phillips
                                             Attorney for Movant
                                             Self & Associates, LLC
                                             Ga. Bar No. 946738
Self & Associates, LLC
P.O. Box 7990
Atlanta, GA 30357
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